Case 2:05-cv-O2123-SHI\/|-dkv Document 26 Filed 07/18/05 Page 1 of 2 Page|D 20

IN THE UNITED sTATEs DISTRICT coURT w BY -%'- °'°'
FoR THE WESTERN DIsTRIcT oF TENNESSEE

 

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METAL sALES MANUFACTURING coRP., CLERU.S.§"€WTCO\H
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Plaintiff,

VS. NO. 05-2123-MaV

WERNE & ASSOCIATES,

Defendant.

 

ORDER GRANTING MOTION FOR ADDITIONAL TIME TO RESPOND

 

Before the court is the plaintiff's June 30, 2005, unopposed
motion requesting an extension of time within Which to file a

response to the defendant's motion to dismiss. For good cause
shown, the motion is granted. The plaintiff shall have
additional time to and including August l, 2005, within which to
file a response to the motion to dismiss for lack of personal and

subject matter jurisdiction.

It is so oRDE:RED this {{M~ day of July, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
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ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

